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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                      LUFKIN DIVISION



 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §            NO. 9:11-CR-29
                                                                XXXXXXXXXXXX          9:10CR29-3
                                                   §
 TEODOCIO CARRERA                                  §


        ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

        After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11 with

 consent of all parties, United States Magistrate Judge Keith F. Giblin reported his findings, conclusions

 and recommendations regarding defendant’s plea of guilty to: Count One of the Second Supers-

 eding Indictment in the above-numbered case.
        The magistrate judge accepted defendant's guilty plea, recommends that defendant be

 adjudged guilty of the offense(s) to which he pleaded guilty, and recommends that the court defer

 acceptance or rejection or defendant’s plea agreement until after reviewing the presentence report.

        No party objects to the magistrate judge’s findings and conclusions, and the court is of the

 opinion that they should be and are hereby ADOPTED. Further, the court RATIFIES the

 magistrate judge’s acceptance of the guilty plea. Accordingly, it is ORDERED:

        1.      Defendant is adjudged GUILTY of the offense(s) alleged in:
                    Count One of Second Superseding Indictment, a violation of 21 U.S.C.
                    Section 846.
        2.      The court [ ] accepts defendant’s plea agreement [ ✔ ] will defer a decision to
                accept or reject defendant’s plea agreement until the court reviews the presentence
                report.

                So ORDERED and SIGNED this 23 day of August, 2011.




                                                               ___________________________________
                                                               Ron Clark, United States District Judge
